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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

JOHN DOE,                                        : Case No. 1:16-cv-00987

               Plaintiff,                        : Judge Michael R. Barrett

v.                                               :
UNIVERSITY OF CINCINNATI, et al.,                : STIPULATION OF DISMISSAL
               Defendants.
                                                 :

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff John Doe and Defendants

University of Cincinnati, Aniesha Mitchell, and Juan Guardia hereby stipulate to the

dismissal of the above action with prejudice.

                                            Respectfully submitted,

                                            MICHAEL DEWINE
                                            Attorney General of Ohio

     /s/ Joshua Engel (auth. 12/4/18)        By: /s/Doreen Canton____
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                              CERTIFICATE OF SERVICE

        I certify that on December 4, 2018, I electronically filed the Stipulation of

Dismissal with the Clerk of Courts via the CM/ECF system, which will provide notice to

all registered parties.



                                                  /s/ Doreen Canton




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